                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                          )
SUSAN WALCH,                              )
     Plaintiff,                           )
                                          )          Civil Action No. 3:18-CV-30125
       vs.                                )
                                          )
RATCHFORD LAW GROUP, PC                   )          NOTICE OF APPEARANCE OF
    Defendant.                            )          SUCCESSOR COUNSEL
                                          )

       Pursuant to Local Rule 83.5.2(c)(1), Plaintiff hereby enters the appearance

of Rosanne C. Leavitt as successor counsel of record and requests that the Court

update its service lists and direct all future pleadings and correspondence to:

                            Rosanne C. Leavitt, Esq.
                               19 Wamsutta Dr.
                          North Attleboro, MA 02760
                          Telephone: (508) 400-2823
                           Facsimile: (866) 317-2674
                     RLeavitt@ThompsonConsumerLaw.com

Dated: November 30, 2018
                                              Respectfully submitted,

                                              SUSAN WALCH

                                              By her attorneys,

                                              /s/ Rosanne C. Leavitt
                                              Rosanne C. Leavitt (BBO # 549208)
                                              19 Wamsutta Drive
                                              North Attleboro, MA 02760
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                                              5235 E. Southern Ave., D106-618
                                              Mesa, AZ 85206


                                               Notice of Appearance of Successor Counsel
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                           CERTIFICATE OF SERVICE

       I certify that on November 30, 2018, I filed the foregoing Notice of Appearance

of Successor Counsel with the Clerk of the U.S. District Court for Massachusetts, using

the CM/ECF system of the Court which will send notification of the same to Defendant

through counsel of record below as follows:

       Erin Reczek
       Ratchford Law Group, P.C.
       89 Newbury St., Ste. 205
       Danvers, MA 01923
       ereczek@ratchfordlawgroup.com
       Attorney for Defendant



                                              /s/Rosanne C. Leavitt
                                              Rosanne C. Leavitt




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